                                         INTERIM ESTATE PROPERTY RECORD AND REPORT – ASSET CASE

Case No. 20-20221                                                                           Trustee Name:         Larry A. Pittman, II
Case Name: Pinnacle Regional Hospital, LLC                                 Date Filed (f) or Converted (c):       July 22, 2020 (c)
Estimated for the period ending: July 31, 2022                                            Claims Bar Date:        April 25, 2021

             1                     2                  3                    4                        5                              6

 Asset Description           Estimated       Estimated Net        Property              Sale/Funds Received by     Asset Fully Administered (FA)
                             Present         Value                Abandoned             the Estate                 / Estimated Gross Value of
                             Asset Value                                                                           Remaining Assets

     1. UMB Bank         $99,963.13          $99,963.13                                                            $99,963.13[1]
     2. Country Club     $77,866.91          $77,866.91                                                            $77,866.91[1]
        Bank
           Approx. Total                                                                                                           $177,830.04[1]
                    Cash

     3. Boonville Real   Unknown             Unknown                                                               Unknown[1]
        Property
              Total Real                                                                                                         Unknown[1], [3]
                Property

     4. Chapter V Claims $0.00               $0.00                                                                                        $0.00
     5. Meditech Claim      Unknown          Unknown                                                                               Unknown[2][3]
 Asset Notes: Estimated values could
 jeopardize litigation.
       Total Gross Estimated Assets                                                                                     Unknown[1], [2], and [3]
     (excluding for unknown value):

Footnotes:
       1. Great Western Bank claims a first priority, blanket interest in all estate assets subject to litigation settlement terms approved by
           Court; A portion of cash assets on hand are insurance proceeds designated for payment of repair work on Boonville Property
       2. Ongoing Litigation Claim(s) cannot be estimated at this point
       3. Projected costs to the Estate and pending litigation and tax returns, if needed, leave the gross asset total unknown

                                                             [Signature Page Follows]


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                                           INTERIM ESTATE PROPERTY RECORD AND REPORT – ASSET CASE

Case No. 20-20221                                                                        Trustee Name:         Larry A. Pittman, II
Case Name: Pinnacle Regional Hospital, LLC                              Date Filed (f) or Converted (c):       July 22, 2020 (c)
Estimated for the period ending: July 31, 2022                                         Claims Bar Date:        April 25, 2021

Initial Projected Date of Final Report:    01/31/2022          Current Projected Date of Final Report: 08/31/2023

                                                                              /s/ Larry A. Pittman, II, Chapter 7 Trustee




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                                                                          FORM 1

Case No. 20-20221                                                                                Trustee Name:            Larry A. Pittman, II
Case Name: Pinnacle Regional Hospital, LLC                                      Date Filed (f) or Converted (c):          July 22, 2020 (c)
Estimated for the period ending: July 31, 2022                                                 Claims Bar Date:           April 25, 2021
                                                                                       § 341(a) Meeting Date:             January 29, 2021

                1                      2                         3                            4                      5                     6
        Asset Description          Petition/            Estimated Net Value           Property Formally         Sale/Funds            Asset Fully
         (Scheduled and           Unscheduled          (Value Determined by              Abandoned              Received by        Administered (FA)/
        Unscheduled (u)             Values              Trustee Less Liens,             OA= § 554(a)             the Estate         Gross Value of
            Property)                                       Exemptions,                   abandon.                                 Remaining Assets
                                                         and Other Costs)
    Ref.
    #
             Checking           $384,808.05          Unknown Pending Sale                                      $0.00             Unknown Pending
    1        Account at                              of Real Property in                                                         Sale of Real Property
             CCB                                     Boonville                                                                   in Boonville

    2        Accounts           $21,338,586.975 $0.00                                                          $0.00             FA
             Receivable



    3        Inventory:
             Medical            $128,140.28          $0.00                                                     $0.00             FA
             Supplies1




1
 Based on Prior Trustee’s Records of the assets and administration of the Jointly Administered Debtors Prior to Separation of Joint Administration.
5
 Gross majority of Accounts Receivable are not collectable. Post Trustee Pittman’s appointment, the estate has collected only $579,883.29. All amounts
appear encumbered.


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                                                                           FORM 1

Case No. 20-20221                                                                                  Trustee Name:             Larry A. Pittman, II
Case Name: Pinnacle Regional Hospital, LLC                                        Date Filed (f) or Converted (c):           July 22, 2020 (c)
Estimated for the period ending: July 31, 2022                                                   Claims Bar Date:            April 25, 2021
                                                                                         § 341(a) Meeting Date:              January 29, 2021



             Office             $30,000.00             $0.00                                                      $0.00             FA
    4        Furniture and
             Equipment2


             Machinery,
    5                           $978,104.12            $0.00                                                      $0.00             FA
             Equipment, and
             Vehicles3


             Potential
    6                           $0.00                  $0.00                                                      $0.00             FA
             Damage for
             Medicare
             License
             Proceeding4


             Preference
    7                           $60,732.006            $0.008                                                     $0.00             FA
             Payments




2
  Debtor estimated at $25k-$35k.
3
  Based on Prior Trustee’s Records of the assets and administration of the Jointly Administered Debtors Prior to Separation of Joint Administration. Trustee
Overcash administered all valuable equipment.
4
  Based on Prior Trustee’s Records of the assets and administration of the Jointly Administered Debtors Prior to Separation of Joint Administration.
6
  Based on schedules of Jointly Administered Debtors Prior to Separation of Joint Administration.
8
  Based on financial records of Pinnacle Regional Hospital, LLC only.


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                                                                          FORM 1

Case No. 20-20221                                                                                Trustee Name:          Larry A. Pittman, II
Case Name: Pinnacle Regional Hospital, LLC                                      Date Filed (f) or Converted (c):        July 22, 2020 (c)
Estimated for the period ending: July 31, 2022                                                 Claims Bar Date:         April 25, 2021
                                                                                       § 341(a) Meeting Date:           January 29, 2021




    8          Real Property     $0.007               Unknown Pending Sale                                    $0.00           Unknown Pending
               located at                             of Real Property in                                                     Sale of Real Property
               17651 Hwy B,                           Boonville                                                               in Boonville
               Boonville, MO

    Totals (excluding            $22,920,371.42       Unknown Pending Sale                                    $0.00           Unknown Pending
    unknown values):                                  of Real Property in                                                     Sale of Real Property
                                                      Boonville                                                               in Boonville



Major Activities Affecting Case Closing:

           -    Sale of Real Property
           -    Potential litigation against prior vendors presently being investigated




Initial Projected Date of Final Report (TFR): 1/31/2022                       Current Projected Date of Final Report: 8/31/2023



                                                                              /s/ Larry A. Pittman, II, Chapter 7 Trustee




7
    No valuation provided by Debtor


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Check Register - Form 2
Number   Date         Description of Transaction           C   Debit (-)            Credit (+)            Balance

         1/29/21      Starting Balance                                                  $228,433.54           $228,433.54

         2/2/21       Service Fee                                          $51.00                             $228,382.54

         2/5/21       MO Social Services HCCCLAIMPMT                                    $371,741.00           $600,123.54

         2/9/21       Service Fee                                           $5.00                             $600,118.54

         2/9/21       UHC Member Paymnt                                                          $50.00       $600,168.54

         2/16/21      UHC Member Paymnt                                                          $32.10       $600,200.64

         2/16/21      UHC Member Paymnt                                                          $32.10       $600,232.74

         2/18/21      MHA Manager                                                                 $0.20       $600,232.94

         2/26/21      UHC Member Paymnt                                                          $88.20       $600,321.14

         3/2/21       Service Fee                                          $51.00                             $600,270.14

         3/9/21       Service Fee                                           $5.00                             $600,265.14

         4/2/21       Service Fee                                          $51.00                             $600,214.14

         4/23/21      MHA Manager                                                       $207,937.70           $808,151.84

         5/3/21       Service Fee                                          $51.00                             $808,100.84

         5/10/21      Service Fee                                           $5.00                             $808,095.84

         5/28/21      MHA Manager                                                                 $0.68       $808,096.52

         6/2/21       Service Fee                                          $51.00                             $808,045.52

         6/8/21       Service Fee                                           $5.00                             $808,040.52

         6/23/21      MHA Manager                                                                 $1.31       $808,041.83

         7/2/21       Service Fee                                          $51.00                             $807,990.83

         7/9/21       Service Fee                                           $5.00                             $807,985.83

         8/2/21       Service Fee                                          $51.00                             $807,934.83

         9/2/21       Service Fee                                          $51.00                             $807,883.83

         9/8/24       Service Fee                                           $2.50                             $807,881.33

         9/24/21      MO Claims HCCClaimpmt                                                      $66.99       $807,948.32

         10/4/21      Service Fee                                          $51.00                             $807,897.32

         10/12/21     Service Fee                                           $2.50                             $807,894.82




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   Number    Date         Description of Transaction                 C   Debit (-)            Credit (+)   Balance

             11/2/21      Service Fee                                                $51.00                    $807,843.82

             11/9/21      Service Fee                                                 $2.50                    $807,841.32

             11/30/21     Cooper County Real Property Tax pmt                $420,731.41                       $387,109.91

             12/2/21      Service Fee                                                $51.00                    $387,058.91

             12/9/21      Service Fee                                                 $2.50                    $387,056.41

             1/3/22       Service Fee                                                $51.00                    $387,005.41

             1/11/22      Service Fee                                                 $2.50                    $387,002.91

             2/2/22       Service Fee                                                $51.00                    $386,951.91

             2/8/22       Service Fee                                                 $2.50                    $386,949.41

             3/2/22       Service Fee                                                $51.00                    $386,898.41

             3/9/22       Service Fee                                                 $2.50                    $386,895.91

             4/4/22       Service Fee                                                $51.00                    $386,844.91

             4/8/22       Service Fee                                                 $2.50                    $386,842.41

             5/2/22       Service Fee                                                $51.00                    $386,791.41

             5/9/22       Service Fee                                                 $2.50                    $386,788.91

             5/31/22      Facility Law Maintenance Fee For 2021                $8,807.50                       $377,981.41

             5/31/22      Settlement Payment to Bank                         $300,007.50                        $77,973.91

             6/2/22       Service Fee                                                $51.00                     $77,922.91

             6/8/22       Service Fee                                                 $2.50                     $77,920.41

             7/5/22       Service Fee                                                $51.00                     $77,869.41

             7/11/22      Service Fee                                                 $2.50                     $77,866.91




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Check Register - Form 2
Number   Date       Description of Transaction                      C   Debit (-)            Credit (+)            Balance

                    James Overcash, Trustee (CARES Act
         2/24/21                                                                                 $675,079.03           $675,079.03
                    Overpayment - Cash is unavailable)

         2/24/21    James Overcash, Trustee                                                      $323,922.77           $999,001.80

         2/24/21    Patient Payment                                                                       $80.58       $999,082.38

         2/24/21    Patient Payment                                                                       $25.00       $999,107.38

         2/24/21    Patient Payment                                                                       $25.00       $999,132.38

         2/24/21    Patient Payment                                                                       $21.02       $999,153.40

         2/24/21    Payment Payment                                                                       $84.40       $999,237.80

         2/24/21    Patient Payment (through Holland Law)                                           $1,499.00         $1,000,736.80

         5/10/21    Ameren Gas / Electricity                                  $6,643.93                                $994,092.87

         5/10/21    Ameren Gas / Electricity                                  $1,888.83                                $992,204.04

         5/11/21    Ameren Gas / Electricity                                    $298.64                                $991,905.40

         5/11/21    Ameren Gas / Electricity                                    $147.87                                $991,757.53

         8/11/21    Ameren Gas / Electricity                                  $9,990.47                                $981,767.06

         8/11/21    Ameren Gas / Electricity                                    $373.09                                $981,393.97

         8/11/21    Ameren Gas / Electricity                                    $126.10                                $981,267.87

363114   8/6/21     Insurance Payment                                       $141,883.35                                $839,384.52

         10/6/21    Ameren Gas / Electricity                                    $342.59                                $839,041.93

         10/6/21    Ameren Gas / Electricity                                    $342.59                                $838,699.34

         10/15/21   Misc. Deposit                                                                     $382.00          $839,081.34

         12/7/21    Ozark Fire Sprinkler                                     $11,348.87                                $827,732.47

         12/7/21    Ameren Gas / Electricity                                    $578.40                                $827,154.07

         12/7/21    Ameren Gas / Electricity                                    $578.40                                $826,575.67

         1/11/22    Ameren Gas / Electricity                                    $213.05                                $826,362.62

         3/17/22    Ameren Gas / Electricity                                  $7,880.03                                $818,482.59

         3/17/22    Ameren Gas / Electricity                                    $306.58                                $818,176.01

         3/17/22    Ameren Gas / Electricity                                        $83.33                             $818,092.68

         4/8/22     Misc. Deposit                                                                   $1,282.17          $819,374.85

         4/8/22     Misc. Deposit                                                                         $10.00       $819,384.85

         5/11/22    Ameren Gas / Electricity                                  $4,310.01                                $815,074.84

         5/11/22    Ameren Gas / Electricity                                    $372.52                                $814,702.32

         5/11/22    Ameren Gas / Electricity                                    $284.21                                $814,418.11

         5/11/22    Ameren Gas / Electricity                                        $77.49                             $814,340.62

         7/12/22    Ameren Gas / Electricity                                  $5,025.77                                $809,314.85

         7/12/22    Ameren Gas / Electricity                                    $100.08                                $809,214.77

         7/12/22    Ameren Gas / Electricity                                        $89.34                             $809,125.43

                    Initial Payment to Hub International for Ins.
         7/18/22                                                             $56,324.70                                $752,800.73
                    2022-2023




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    Number   Date      Description of Transaction                    C   Debit (-)         Credit (+)         Balance

                       Initial Payment on Restoration Services for
             7/18/22                                                          $53,621.14                          $699,179.59
                       BluSky Repairs to Facility
                       Insurance Proceeds from Feb. 2021
             6/10/22                                                                             $76,020.07       $775,199.66
                       Damage
                       Payment to Hub International for Ins.                                                                    Available After
             7/18/22                                                             $157.50                          $775,042.16                   $99,963.13
                       Services for 2022-2023                                                                                   Deducting PPP
                                                                                                                                Payment Return
                                                                                                                                    Funds




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